 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 1 of 29 PageID #: 84




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

               Plaintiff,                                   C.A. No. 19-2262-RGA

       v.                                                   PATENT CASE

DENON ELECTRONICS (USA) LLC,                                JURY TRIAL DEMANDED

               Defendant.


                   DENON’S ANSWER, AFFIRMATIVE DEFENSES,
                AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       Denon Electronics (USA) LLC (“Denon”) files this Answer, Affirmative Defenses, and

Counterclaims to Plaintiff Symbology Innovations LLC’s (“Plaintiff” or “Symbology”) Original

Complaint for Patent Infringement (“Complaint”). Denon denies the allegations and

characterizations in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.

                                 NATURE OF THE ACTION

       1.      Denon admits that the Complaint purports to set forth an action for patent

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., including 35

U.S.C. § 271. Denon also admits that a purported copy of U.S. Patent No. 8,424,752 (the “’752

Patent”) is attached to the Complaint as Exhibit A. Denon denies it has committed or is

committing acts of infringement such that Plaintiff is entitled to any relief from Denon. Denon

denies any remaining allegations in Paragraph 1 of the Complaint.

                                         THE PARTIES

       2.      Denon is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 2 of the Complaint.
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 2 of 29 PageID #: 85




       3.        Denon admits it is an entity established in the State of Delaware, has a place of

business in the State of New Jersey, and may be served by its registered agent The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

                                  JURISDICTION AND VENUE

       4.        Denon admits that the Complaint purports to set forth an action for infringement

under the Patent Laws of the United States, 35 U.S.C. § 101, et seq.

       5.        Denon admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367 because Plaintiff has alleged

infringement of a patent, but Denon denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. Denon denies any remaining allegations

in Paragraph 5 of the Complaint.

       6.        Denon does not contest whether personal jurisdiction over it properly lies in this

District in this action, or that it conducts business in the State of Delaware. Denon denies it has

committed and/or is committing acts of infringement within the State of Delaware, on that basis,

denies the remaining allegations of Paragraph 6 of the Complaint.

       7.        Denon does not contest that it conducts business in the State of Delaware. Denon

denies it has committed or is committing acts of infringement within the State of Delaware or in

this District and, on that basis, denies the remaining allegations of Paragraph 7 of the Complaint.

       8.        Denon does not contest that venue may be proper in this District in this action.

Denon denies it has committed or is committing acts of infringement within the State of

Delaware or in this District and, on that basis, denies the remaining allegations of Paragraph 8 of

the Complaint.




                                                  2
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 3 of 29 PageID #: 86




                        [PLAINTIFF’S] FACTUAL ALLEGATIONS

       9.      Denon admits that the purported copy of the ’752 Patent that is attached to the

Complaint as Exhibit A indicates that it issued on April 23, 2013, and is entitled “System and

method for presenting information about an object on a portable electronic device.” Denon is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 9 of the Complaint and, on that basis, denies all such allegations.

       10.     Denon is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such

allegations.

       11.     Denon is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 11 of the Complaint and, on that basis, denies all such

allegations.

       12.     Denon admits that the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies any remaining allegations in Paragraph 12

of the Complaint.

       13.     Denon admits that the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies any remaining allegations in Paragraph 13

of the Complaint.

       14.     Denon admits that Claim 1 of the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies any remaining allegations in Paragraph 14

of the Complaint.




                                                 3
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 4 of 29 PageID #: 87




       15.     Denon admits that Claim 1 of the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies “Claim 1 of the ‘752 Patent recites a non-

abstract method” and denies any remaining allegations in Paragraph 15 of the Complaint.

       16.     Denon admits that Claim 1 of the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies any remaining allegations in Paragraph 16

of the Complaint.

       17.     Denon denies the allegations in Paragraph 17 of the Complaint.

                         [ALLEGED] DEFENDANT’S PRODUCT(S)

       18.     Denon admits that a Quick Response (QR) code has appeared on some of its

material. Denon admits that Claim 1 of the ’752 Patent speaks for itself but denies any

characterizations inconsistent therewith. Denon denies that it has committed or is committing

acts of infringement in this District or elsewhere and, on that basis, denies any remaining

allegations in Paragraph 18 of the Complaint.

       19.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 19 of the Complaint.

       20.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 20 of the Complaint.

       21.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of




                                                 4
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 5 of 29 PageID #: 88




infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 21 of the Complaint.

       22.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 22 of the Complaint.

       23.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 23 of the Complaint.

       24.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 24 of the Complaint.

       25.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 25 of the Complaint.

       26.     Denon incorporates its admissions, averments, and denials in Paragraph 18 above

as if set forth fully herein. Denon denies that it has committed or is committing acts of

infringement in this District or elsewhere and, on that basis, denies any remaining allegations in

Paragraph 26 of the Complaint.




                                                 5
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 6 of 29 PageID #: 89




 [ALLEGED] INFRINGEMENT OF THE ‘752 PATNET DEFENDANT’S PRODUCT(S)

        27.     Denon incorporates by reference each of its responses set forth in Paragraphs 1-26

above as if fully set forth herein.

        28.     Denon denies the allegations in Paragraph 28 of the Complaint.

        29.     Denon denies the allegations in Paragraph 29 of the Complaint.

        30.     Denon denies the allegations in Paragraph 30 of the Complaint.

        31.     Denon denies the allegations in Paragraph 31 of the Complaint.

        32.     Denon denies the allegations in Paragraph 32 of the Complaint.

        33.     Denon denies the allegations in Paragraph 33 of the Complaint.

        34.     Denon denies the allegations in Paragraph 34 of the Complaint.

        35.     Denon denies the allegations in Paragraph 35 of the Complaint.

        36.     Denon denies the allegations in Paragraph 36 of the Complaint.

                        [PLAINTIFF’S] DEMAND FOR JURY TRIAL

        37.     Denon is not required to provide a response to Plaintiff's request for a trial by

jury.

                            [PLAINTIFF’S] PRAYER FOR RELIEF

        Denon denies that Plaintiff is entitled to any relief from Denon and denies all the

allegations contained in Paragraphs (a)-(g) of Plaintiff’s Request for Relief.

                                      AFFIRMATIVE DEFENSES

        Denon’s Affirmative Defenses are listed below. Denon reserves the right to amend its

answer to add additional Affirmative Defenses consistent with the facts discovered in this action.




                                                  6
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 7 of 29 PageID #: 90




                              FIRST AFFIRMATIVE DEFENSE

       Denon has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’752 Patent.

                             SECOND AFFIRMATIVE DEFENSE

       Each asserted claim of the ’752 Patent is invalid for failure to comply with one or more

of the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the ’752 Patent against Denon is barred by the

doctrine of inequitable conduct.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to any of the ’752 Patent

failed to properly mark any of their relevant products or materials as required by 35 U.S.C.

§ 287, or otherwise give proper notice that Denon’s actions allegedly infringe the ’752 Patent,

Denon is not liable to Plaintiff for the acts alleged to have been performed before it received

actual notice that it was allegedly infringing the ’752 Patent.

                              FIFTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that Denon indirectly infringes, either by contributory

infringement or inducement of infringement, Denon is not liable to Plaintiff for the acts alleged

to have been performed before Denon knew that its actions would cause indirect infringement.




                                                  7
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 8 of 29 PageID #: 91




                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the ’752 Patent against Denon is barred by one or

more of the equitable doctrines of estoppel, acquiescence, waiver, and unclean hands.

                            SEVENTH AFFIRMATIVE DEFENSE

       The claims of the ’752 Patent are not entitled to a scope sufficient to encompass any

system employed or process practiced by Denon.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that Denon makes, uses, or sells

each claimed element of any asserted claim, or that Denon directs or controls another entity to

make, use, or sell any element that is not made, used, or sold by Denon.

                              NINTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                             TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

’752 Patent does not claim patentable subject matter under 35 U.S.C. § 101.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any method employed by

Denon: (1) captures a digital image; (2) detects symbology associated with an object within the

digital image; (3) decodes the symbology to obtain a decode string; (4) sends the decode string to




                                                 8
 Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 9 of 29 PageID #: 92




a remote server for processing; (5) receives information about the object from the remote server

wherein the information is based on the decode string of the object; and/or (6) displays the

information on a display device associated with the portable electronic device.

                                DENON’S COUNTERCLAIMS

       For its counterclaims against Plaintiff Symbology Innovations, LLC (“Symbology”),

Counterclaim Plaintiff Denon U.S. Operations, Inc. (“Denon”) alleges as follows:

                                            PARTIES

       1.      Counterclaim Plaintiff Denon is a company organized and existing under the laws

of the State of Delaware, with its principal place of business located at 100 Corporate Drive,

Mahwah, New Jersey 07430.

       2.      Upon information and belief based solely on Paragraph 2 of the Complaint as pled

by Plaintiff, Counterclaim Defendant Symbology is a limited liability company organized and

existing under the laws of the State of Texas, and maintains its principal place of business at

1801 NE 123 Street, North Miami, Florida 33181

                                        JURISDICTION

       3.      Denon incorporates by reference Paragraphs 1–2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      Symbology has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.

       6.      Based solely on Symbology’s filing of this action, venue is proper, though not

necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.




                                                 9
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 10 of 29 PageID #: 93




                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      Denon incorporates by reference Paragraphs 1–6 above.

       8.      Based on Symbology’s filing of this action and at least Denon’s First Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to whether

Denon infringes U.S. Patent No. 8,424,752 (the “’752 Patent”).

       9.      Denon does not infringe at least Claim 1 of the ’752 Patent because, among other

things, it does not “use” or “test” any method or system that: (i) captures a digital image, (ii)

detects symbology associated with an object within the digital image, (iii) decodes the

symbology to obtain a decode string, (iv) sends the decode string to a remote server for

processing, (v) receives information about the digital image from the remote server wherein the

information is based on the decode string, and/or (vi) displays the information on a display

device associated with the electronic device.

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Denon requests a declaration by the Court that Denon has not infringed and does not infringe any

claim of the ’752 Patent under any theory (including directly (whether individually or jointly) or

indirectly (whether contributorily or by inducement)).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     Denon incorporates by reference Paragraphs 1–10 above.

       12.     Based on Symbology’s filing of this action and at least Denon’s Second

Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

the validity of the claims of the ’752 Patent.

       13.     The asserted claims of the ’752 Patent are anticipated and/or rendered obvious by,

inter alia, BarPoint.com; Neomedia’s Neo Reader; Microsoft’s Smart Tags; Android’s Shop


                                                 10
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 11 of 29 PageID #: 94




Savvy; Red Laser; ScanBuy; U.S. Serial No. 60/118,051; U.S. Serial No. 60/187,646; U.S. Serial

No. 60/185,546; U.S. Patent Application 2008/0004978; U.S. Patent No. 6,430,554; and/or U.S.

Patent No. 6,651,053.

       14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Denon requests a declaration by the Court claims of the ’752 Patent are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

thereto.

                                  COUNT III
                  DECLARATION REGARDING UNENFORCEABILITY
                        DUE TO INEQUITABLE CONDUCT

       15.     Denon incorporates by reference Paragraphs 1–14 above.

       16.     Based on Symbology’s filing of this action and at least Denon’s Third Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the

enforceability of the claims of the ’752 Patent.

       17.     The named inventor, Leigh Rothschild, had knowledge of material, non-

cumulative prior art regarding the ’752 Patent and, on information and belief, deliberately

withheld the material, non-cumulative prior art from disclosure to the United States Patent and

Trademark Office (“USPTO”) during prosecution of the ’752 Patent with the intent to deceive

the examiner and the USPTO.

       18.     On information and belief, representatives associated with the filing and

prosecution of the applications for the ’752 Patent, had knowledge of material, non-cumulative

prior art regarding the ’752 Patent and, on information and belief, deliberately withheld the

material, non-cumulative prior art from disclosure to the USPTO with the intent to deceive the

examiner and the USPTO.


                                                   11
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 12 of 29 PageID #: 95




          19.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Denon requests a declaration by the Court that all claims of the ’752 Patent are unenforceable

due to inequitable conduct because one or more of the individuals referenced above, with the

intent to deceive the USPTO, failed to comply with the duty of candor to the USPTO, as set forth

in 37 C.F.R. § 1.56, during prosecution of the applications that led to the issuance of the ’752

Patent.

A.        Background Facts Relating to Counterclaim of Unenforceability

          1.    At the Time of Prosecution, Mr. Rothschild was Aware of Material, Non-
                Cumulative Prior Art Related to Barcode Symbology, Including His Own
                BarPoint System and Related Patents

          20.   On information and belief, due to his long involvement with filing and

prosecuting patent applications, Mr. Rothschild is familiar with policies and practices of the

USPTO and its procedures, including its duty of candor. In particular, according to his personal

LinkedIn page, Mr. Rothschild:

                is an established inventor who to date has been issued more then
                [sic] eighty US patents and has more than 150 patents pending
                worldwide. Mr. Rothschild’s first patent was conceived when he
                was 17 years of age and granted shortly thereafter.

Ex. A.

          21.   Moreover, Mr. Rothschild has long been familiar with prosecuting patents in the

same field as Symbology’s characterization of the ’752 Patent, which Symbology alleges relates

to barcode symbology, namely “Quick Response Codes (QR codes).” In an online profile, Mr.

Rothschild was quoted as saying:

                I have 60 patents—from computer servers to medical to 3D displays.
                Most of my inventions are related to technology, such as the method
                of tying QR codes to the internet….

Ex. B.



                                                12
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 13 of 29 PageID #: 96




               a.     The Undisclosed BarPoint System

         22.   Mr. Rothschild’s involvement with barcode technology dates back almost two

decades. On information and belief, in order to make money at alleged inventing, in the late

1990s and early 2000s, Mr. Rothschild started a few businesses, including BarPoint.com.

         23.   According to BarPoint.com’s 2001 Annual Report filed with the SEC:

               BarPoint is an online and wireless product information and shopping
               service provider which also develops mobile device software
               applications for consumers and businesses. BarPoint’s product
               information and shopping service platform utilizes patent pending
               reverse search technology to enable users to search for product
               information using unique product identifiers, including universal
               product codes, known as UPCs or barcode numbers, catalog
               numbers and SKU numbers.

Ex. C.

         24.   On information and belief, Mr. Rothschild was deeply involved in the affairs of

BarPoint.com. In addition to being its founder, he served as Chairman of its Board of Directors

from 1998 through 2004. During a portion of that time he also served as its Chief Executive

Officer. See Ex. A.

         25.   The primary technology that BarPoint.com employed involved scanning a

barcode with a handheld mobile device and transmitting the decoded barcode information over

the Internet in order to search for product information (the “BarPoint.com system”). According

to BarPoint.com’s 1999 Annual Report filed with the SEC:

               BarPoint has developed and recently launched a comparative
               shopping and consumer information Internet site utilizing
               proprietary reverse search technology that enables consumers to
               search the Internet for product-specific information using universal
               product codes, known as UPCs or barcode numbers…. The BarPoint
               service can be accessed from a desktop computer or a wide variety
               of Internet-enabled handheld mobile devices, such as personal
               digital assistants (PDAs), interactive pagers and cell phones. By
               typing or scanning the barcode number that manufacturers attach to



                                               13
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 14 of 29 PageID #: 97




               their products, consumers gain access to a variety of information
               gathered by BarPoint on the specific product….

                          ***

               On December 6, 1999, we launched a preview version of our
               website, www.barpoint.com, which features a patent-pending
               search engine and software technology that allows consumers to use
               the standard UPC barcode number that appears on what we believe
               to be more than 100 million retail items to search for product-
               specific information from and shop for products on the Internet.

                          ***

               The BarPoint technology can be accessed via the Internet at
               www.barpoint.com from desktops or handheld wireless devices. It
               is presently available on a variety of hand-held and wireless devices
               including the Palm VII from 3COM/Palm Computing, interactive
               pagers such as those from Research In Motion, and the SPT 1500, a
               Palm VII with a built-in scanning device, manufactured by Symbol
               Technologies.

                          ***

               The BarPoint service is available through accessing
               www.barpoint.com through which UPC barcode number searches
               can be executed by simply typing or scanning in a UPC barcode
               number.

See Ex. D.

       26.     The BarPoint system, publicly known, offered for sale, and used around 1999, is

substantially similar to the alleged infringing activity of the ’752 Patent as characterized by

Symbology in its Complaint:

               The Patent-in-Suit teaches systems and methods for enabling a
               portable electronic device … to retrieve information about an object
               when the object’s symbology … is detected.

See, e.g., Compl., ¶ 9.

       27.     As shown in the claim chart attached hereto as Exhibit E, the BarPoint system

anticipates and/or renders obvious each and every element of Claim 1 of the ’752 Patent under

Symbology’s characterization of the ’752 Patent’s scope, and thus is material and not cumulative


                                                 14
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 15 of 29 PageID #: 98




to the information already of record during the prosecution of the ’752 Patent and related

applications.

                b.     The Undisclosed Rothschild Patents

       28.      In addition to his firsthand involvement with BarPoint.com, Mr. Rothschild was

identified as the sole named inventor for at least three provisional applications that disclosed the

BarPoint.com system, including:

                (a) U.S. Serial No. 60/118,051 (“’051 provisional application”), filed February 1,
                    1999, and entitled “Interactive Method for Investigating Products”;

                (b) U.S. Serial No. 60/187,646 (“’646 provisional application”), filed March 8,
                    2000, and entitled “Interactive System for Investigating Products on a
                    Network Through a Mobile Device”; and

                (c) U.S. Serial No. 60/185,546 (“’546 provisional application”), filed
                    February 28, 2000, and entitled “Method of Verifying Barcode/UPC Numbers
                    or Other Symbologies and Linking Such Numbers to Information on a Global
                    Computer Network.”

       29.      On information and belief, the ’051 provisional application became publicly

available, such as through the USPTO’s public PAIR website, more than one year prior to the

September 15, 2010 earliest effective filing date of the ’752 Patent, because later patent

applications published and/or granted claimed priority to them. See Manual for Patent

Examination Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)–(vi)). The ’051 provisional

application is attached hereto as Exhibit F.

       30.      The following disclosures in the ’051 provisional application confirm that the

BarPoint system was offered for sale and publicly used prior to the filing dates of the ’051

provisional application:




                                                 15
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 16 of 29 PageID #: 99




             The ’051 provisional application provides a printout from www.barpoint.com
entitled “Advertising Barcode,” dated January 20, 1999, and shows:




             Another printout in the ’051 provisional application from www.barpoint.com
entitled “Advertising Barcode Demo,” dated January 20, 1999, shows:




               Another printout in the ’051 provisional application from www.barpoint.com
entitled “Link to Your Product’s Website,” dated January 20, 1999, shows:




Ex. F.




                                             16
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 17 of 29 PageID #: 100




       31.     Based on the provisional application’s disclosures and Mr. Rothschild’s firsthand

involvement with BarPoint.com, it was known to Mr. Rothschild and/or the representatives

associated with the filing and prosecution of the applications for the ’752 Patent, that the

BarPoint system described in the provisional applications was offered for sale and publicly used

prior to the filing dates of the provisional applications.

       32.     Mr. Rothschild’s representatives subsequently filed several non-provisional

applications that claim priority to the ’051, ’646, and ’546 provisional applications, including the

applications for U.S. Patent No. 6,430,554 (“’554 Patent”), which issued on August 6, 2002, and

U.S. Patent No. 6,651,053 (“’053 Patent”), which issued on November 18, 2003, each of which

names Mr. Rothschild as the sole inventor. These patents are attached hereto as Exhibits G and

H.

       33.     On June 30, 2006, Mr. Rothschild filed U.S. Patent Application 2008/0004978

(“’978 application”) with the USPTO. The ’978 application was published January 3, 2008, and

is attached hereto as Exhibit I.

       34.     The ’978 application disclosed “a system and method … for identifying an article

of commerce, e.g., digital media content, and downloading all or part of content related to the

article of commerce to mobile devices such as portable digital media players and/or mobile

phone devices” over the Internet. Id., ¶¶ 0007, 0035. The ’978 application further disclosed

capturing a barcode and decoding the barcode in order to acquire an identification code of the

article of commerce:




                                                  17
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 18 of 29 PageID #: 101




Id., ¶ 0037.

       35.     The ’051, ’646, and ’546 provisional applications, the ’978 application, and the

’554 and ’053 Patents (collectively, the “Rothschild Patents”), each anticipate and/or render

obvious each and every element of Claim 1 of the ’752 Patent under Symbology’s

characterization of the alleged infringing activity, as shown in the exemplary claim chart for the

BarPoint system, the ’978 application, and the ’554 Patent, attached hereto as Exhibits E, J, and

K, and thus the Rothschild Patents prior art is material and not cumulative to the information

already of record during the prosecution of the ’752 Patent and related applications.

               c.     Other Material Prior Art

       36.     Mr. Rothschild noted in the ’752 Patent’s specification that “[s]ome applications

that may be downloaded to portable electronic devices include symbology scanning and/or

decoding programs [including] Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s

Shop Savvy, Red Laser, ScanBuy, etc.” Ex. L (’752 Pat., 3:29–33).

       37.     Mr. Rothschild, however, indicated only that these prior art systems “scan[]” or

“decode[],” but notably failed to disclose to the USPTO that these prior art systems also capture




                                                18
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 19 of 29 PageID #: 102




a digital image of a barcode and send decoded information (such as a URL) to a remote server to

retrieve information for display (such as a web page).

       38.     As shown in the claim charts attached as Exhibits M and N, the prior art systems

identified in the specification, but not fully disclosed by Mr. Rothschild, anticipate and/or render

obvious each and every element of Claim 1 of the ’752 Patent under Symbology’s

characterization of the alleged infringing activity, and thus full disclosure of the prior art systems

is material and not cumulative to the information already of record during the prosecution of the

Asserted Patent and related applications.

       2.      Mr. Rothschild Deliberately Withheld Material, Non-Cumulative Prior Art
               References During Prosecution of the ’752 Patent and Related Applications

       39.     Despite Mr. Rothschild having deep knowledge of the BarPoint system, the

Rothschild Patents, and other material, non-cumulative prior art related to technology

Symbology alleges the ’752 Patent covers, Mr. Rothschild and/or the representatives associated

with the filing and prosecution of the application for the ’752 Patent did not submit or identify

any prior art during the prosecution of the ’752 Patent and related applications, nor did the

prosecuting attorney(s) submit to the examiner a single Information Disclosure Statement (IDS)

identifying any prior art.

       40.     The BarPoint system, the Rothschild Patents, and the prior art systems identified

in the specification, are each material to patentability of the claims of the ’752 Patent and not

merely cumulative over the prior art that was before the examiner.

       41.     Mr. Rothschild and/or the representatives associated with the filing and

prosecution of the application for the ’752 Patent, knew of the BarPoint system, the Rothschild

Patents, and the prior art systems identified in the specification, and, on information and belief,




                                                 19
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 20 of 29 PageID #: 103




deliberately failed to disclose the prior art to the USPTO in connection with prosecuting the

applications for the ’752 Patent, with the intent to deceive the examiner and the USPTO.

       42.       Had Mr. Rothschild and/or the representatives associated with the filing and

prosecution of the application for the ’752 Patent made the examiner aware of the BarPoint

system, the Rothschild Patents, and that the prior art systems identified in the specification

anticipate and/or render obvious each and every element of the independent claims of the’752

Patent under Symbology’s characterization of the alleged infringing activity, the examiner would

not have allowed the claims to issue.

       3.        By Withholding Material, Non-Cumulative Prior Art During Prosecution of
                 the ’752 Patent, Mr. Rothschild Intended to Deceive the USPTO

                 a.     Mr. Rothschild Lost His Interest in the BarPoint System and
                        Rothschild Patents in Late 2010

       43.       The failure of Mr. Rothschild and/or the representatives associated with the filing

and prosecution of the application for the ’752 Patent to disclose the BarPoint system and the

Rothschild Patents prior art, as well as other material prior art, was with the intent to deceive the

USPTO.

       44.       Mr. Rothschild sought and obtained the Rothschild Patents claiming an alleged

invention by which a customer scans a barcode with a handheld mobile device, and transmits the

decoded barcode information over the Internet in order to retrieve product information on the

mobile device.

       45.       Mr. Rothschild sought monetary gain through the founding of BarPoint.com by

assigning the Rothschild Patents to BarPoint.com in order to commercialize the alleged

inventions of the Rothschild Patents.




                                                  20
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 21 of 29 PageID #: 104




       46.     According to SEC filings, BarPoint.com initially was not a commercial success:

               Revenue from [BarPoint.com’s wireless Internet software] business
               was limited and decreased through 2002. In 2003, this business
               generated no revenue and we began searching to acquire another
               business…. Effective in August 2004 Mr. Rothschild resigned as a
               director of the Company.

Ex. O (2004 SEC Annual Report, Description of Business).

       47.     On or about April 11, 2005, however, BarPoint.com sold the Rothschild Patents to

NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in the amount of

10% of licensing proceeds generated by NeoMedia for 10 years. Id. (Intellectual Property). On

information and belief, NeoMedia undertook an enforcement campaign that generated royalties

due under the agreement.

       48.     BarPoint.com’s successor-in-interest subsequently declared bankruptcy, and the

Rothschild Trust, for which Mr. Rothschild was the managing member, purportedly purchased

the rights to the licensing proceeds generated from the Rothschild Patents. See Ex. P (Settlement

Agreement).1

       49.     On information and belief, Mr. Rothschild, and/or one or more entities he

controlled, received compensation for licensing proceeds from the enforcement of the Rothschild

Patents. Consequently, Mr. Rothschild remained deeply familiar with the BarPoint.com system

and the Rothschild Patents, including their disclosures and claims.

       50.     On information and belief, Mr. Rothschild’s rights to benefit from the Rothschild

Patents ceased in late 2010, when he entered into a settlement agreement with NeoMedia

assigning all rights in the Rothschild Patents to NeoMedia.




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 Available publicly at: https://www.sec.gov/Archives/edgar/data/1022701/
000114420410066649/v205602_ex10-1.htm.


                                                21
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 22 of 29 PageID #: 105




               b.      Mr. Rothschild’s Initial Attempt to Reclaim Technology Disclosed in
                       BarPoint System and Other Undisclosed Prior Art was Rejected

       51.     On September 15, 2010, Mr. Rothschild filed a patent application that ultimately

issued as U.S. Patent No. 7,992,773 (the “’773 Patent”), entitled “System and Method for

Presenting Information about an Object on a Portable Electronic Device,” attached as Exhibit Q.

The ’752 Patent is a continuation of the application that led to the ’773 Patent and thus shares a

common specification.

       52.     With at least one substantial exception, the general subject matter of the ’773

Patent and the ’752 Patent is nearly identical to the BarPoint system and the Rothschild Patents.

For example, the summary of the ’773 Patent states:

               Systems and methods are provided for allowing a user to utilize a
               portable electronic device to retrieve information about an object in
               response to the portable electronic device detecting symbology, e.g.,
               a barcode, associated with the object.

Ex. Q, 1:56–60.

       53.     However, the ’773 Patent’s specification notes alleged problems with prior art

barcode scanning applications:

               Some applications that may be downloaded to portable electronic
               devices include symbology scanning and/or decoding programs.
               Examples of applications that allow scanning include Neomedia's
               Neo Reader, Microsoft’s Smart Tags, Android's Shop Savvy, Red
               Laser, ScanBuy, etc. However, when a user wishes to scan an
               object, the user must then select an application on the portable
               electronic device that is capable of accomplishing the desired
               functions. Since a user may have dozens of applications loaded
               on his or her portable electronic device, it may be difficult to
               select the appropriate application for executing the scanning
               functions.

See, e.g., id., 3:20–30 (emphasis added).

       54.     In the specification, Mr. Rothschild thus proposed a solution wherein the alleged

improvement over the prior art barcode scanning applications involves “one or more visual


                                                22
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 23 of 29 PageID #: 106




detection systems [that] are run in the background of the device, where other programs or

systems are given priority with respect to processing steps over the one or more visual detection

systems.” Id., 11:63–66 (emphasis added). “If a background application detects decodable

symbology… the detected symbology is sent to one or more pre-selected visual detection

applications for decoding and information retrieval.” Id., 12:19–33 (emphasis added).

       55.       Notwithstanding this purportedly inventive feature, Mr. Rothschild initially

attempted to prosecute independent claim 1 of the patent application that ultimately issued as the

’773 Patent without this limitation and covering only that which BarPoint and other prior art

barcode scanning applications disclosed.

       56.       At no point during the prosecution of the ’773 Patent or the continuation

applications did Mr. Rothschild disclose to the USPTO the BarPoint system, the Rothschild

Patents, or the full capabilities of the prior art barcode scanning applications identified in the

specification.

       57.       In the December 2010 Non-Final Rejection, the examiner rejected claim 1 under

35 U.S.C. 102(b) as being anticipated by Fitzpatrick, et al. (2008/0201310) (“Fitzpatrick”),

which disclosed all of the limitations in the originally-drafted version of claim 1:




                                                  23
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 24 of 29 PageID #: 107




See Ex. R (’773 Pat. File History, Dec. 27, 2010 Non-Final Rejection at 2–3).

       58.     To overcome the December 2010 rejection, Mr. Rothschild narrowed claim 1 of

the ’773 Patent to include the purportedly novel feature identified in the specification:




                                                 24
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 25 of 29 PageID #: 108




See Ex. S (’773 Pat. File History, Jan. 13, 2011 Claim Amendment).

        59.     In the March 2011 Notice of Allowance, the examiner expressly noted that the

prior art taught:

                (a) detecting a symbology associated with an object;

                (b) decoding the symbology to obtain a decode string;

                (c) sending the decode string to a remote server for processing;

                (d) receiving information from the server; and

                (e) displaying the information on a display device.

See Ex. T (’773 Pat. File History, Mar. 28, 2011 Notice of Allowance at 2–3).




                                                25
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 26 of 29 PageID #: 109




        60.    In the March 2011 Notice of Allowance, the examiner confirmed that the

purported “novelty” of the invention as allowed in Claim 1 of the ’773 Patent was the visual

detection systems that run in the background and detect the symbology associated with an object:




Id. at 3.

        61.    As a result of the patentee’s amendment to Claim 1, every independent claim of

the ’773 Patent includes the limitation in which a “background” visual detection system

“automatically” decodes “symbology” and sends the decode string to another “visual detection

application” residing on the portable device.

               c.     Mr. Rothschild Intentionally Omitted the Limitations Found in
                      Claim 1 of the ’773 Patent During Prosecution of the ’752 Patent in
                      Order to Recapture the Scope of the BarPoint.com System He No
                      Longer Controlled

        62.    Despite the purported novelty identified in the specification and by the examiner

during prosecution of the parent application, Mr. Rothschild and/or the representatives associated

with the filing and prosecution of the application for the ’752 Patent, undertook a concerted

effort to omit the limitation related to the alleged improvement that had been expressly included




                                                26
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 27 of 29 PageID #: 110




in Claim 1 of the ’773 Patent in order to overcome the examiner’s rejection based on anticipation

grounds.

       63.     Unlike Claim 1 of the ’773 Patent, the independent claims of the ’752 Patent do

not include the limitation that requires a “background” system that “decod[es] the symbology to

obtain a decode string” and “send[s]the decode string to one or more visual detection

applications for processing.”

       64.     On information and belief, Mr. Rothschild’s goal during prosecution of the ’752

Patent and related applications was to broaden the independent claims in the continuation

applications to recapture the scope of the invention related to the BarPoint system that he had

assigned to NeoMedia and for which, as of 2010, he no longer had rights to exploit. Mr.

Rothschild would not have been able to achieve this goal if he disclosed the BarPoint system, the

Rothschild Patents, and the full capabilities of the prior art barcode scanning applications

identified in the specification, to the examiner during the ’752 Patent’s prosecution before the

USPTO.

       65.     Had Mr. Rothschild or the representatives associated with the filing and

prosecution of the applications for the ’752 Patent made the examiner aware of the undisclosed,

material, non-cumulative prior art in Mr. Rothschild’s possession, the examiner would not have

allowed the independent claims of the ’752 Patent to issue.

       66.     Mr. Rothschild and/or the representatives associated with the filing and

prosecution of the application for the ’752 Patent intended to deceive the USPTO by

intentionally failing to disclose the BarPoint system, the Rothschild Patents, and the full

capabilities of the prior art barcode scanning applications identified in the specification, in order

to recapture patent rights to subject matter Mr. Rothschild no longer controlled.




                                                 27
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 28 of 29 PageID #: 111




                                    PRAYER FOR RELIEF

       WHEREFORE, Denon asks this Court to enter judgment in Denon’s favor and against

Symbology by granting the following relief:

       a)      a declaration that the ’752 Patent is invalid;

       b)      a declaration that Denon does not infringe, under any theory, any valid claim of the

’752 Patent that may be enforceable;

       c)      a declaration that the ’752 Patent is unenforceable;

       d)      a declaration the Symbology take nothing by its Complaint;

       e)      judgment against Symbology and in favor of Denon;

       f)      dismissal of the Complaint with prejudice;

       g)      a finding that this action is an exceptional case under 35 U.S.C. § 285 and an award

to Denon of its costs and attorneys’ fees incurred in this action; and

       h)      further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Denon hereby demands trial by jury on all issues.




                                                 28
Case 1:19-cv-02262-RGA Document 10 Filed 02/03/20 Page 29 of 29 PageID #: 112




Dated: February 3, 2020               FISH & RICHARDSON P.C.

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                                     29
